            Case 5:23-cv-04534-BLF      Document 53       Filed 11/20/24   Page 1 of 5




 1 MARK R. CONRAD (CA Bar No. 255667)
   WARREN METLITZKY (CA Bar No. 220758)
 2 JESSICA LANIER (CA Bar. No. 303395)

 3 CONRAD METLITZKY KANE LLP
   217 Leidesdorff Street
 4 San Francisco, CA 94111
   Tel: (415) 343-7100
 5 Fax: (415) 343-7101
   Email: mconrad@conmetkane.com
 6 Email: wmetlitzky@conmetkane.com

 7 Email: jlaner@conmetkane.com

 8 JAMES D. WEINBERGER (admitted pro hac vice)
   PARER C. EUDY (admitted pro hac vice)
 9 FROSS ZELNICK LEHRMAN & ZISSU, P.C.

10 151 West 42nd Street, 17th Floor
   New York, NY 10036
11 Tel: (212) 813-5900
   Fax: (212) 813-5901
12 Email: jweinberger@fzlz.com
   Email: peudy@fzlz.com
13

14 Attorneys for Plaintiffs

15 [Defense counsel information on following page]

16                             UNITED STATES DISTRICT COURT
17
                              NORTHERN DISTRICT OF CALIFORNIA
18
                                      SAN JOSE DIVISION
19
   SAGE GLOBAL SERVICES LIMITED;
20 SAGE SOFTWARE, INC.,

21
             Plaintiffs,
22                                                   Case No. 5:23-CV-04534-BLF
        v.
23                                                   JOINT STIPULATION SETTING
24 4TH PARADIGM (BEIJING)                            CASE MANAGEMENT DEADLINES
   TECHNOLOGY CO., LTD.,
25
             Defendant.
26
27

28

                                                 1
     CASE NO. 5:23-CV-04534-BLF                               JOINT STIPULATION SETTING CASE
                                                                     MANAGEMENT DEADLINES
            Case 5:23-cv-04534-BLF          Document 53        Filed 11/20/24     Page 2 of 5




 1 DIANA M. RUTOWSKI (STATE BAR NO. 238878)
   drutowski@orrick.com
 2 ORRICK, HERRINGTON & SUTCLIFFE LLP

 3 1000 Marsh Road
   Menlo Park, CA 94025-1015
 4 Telephone: +1 650 614 7400
   Facsimile:    +1 650 614 7401
 5
   XIANG WANG (NY STATE BAR NO. 4311114)
 6 Appearance Pro Hac Vice

 7 xiangwang@orrick.com
   ORRICK, HERRINGTON & SUTCLIFFE LLP
 8 5701 China World Tower A
   No.1 Jianguomenwai Avenue
 9 Beijing 100004

10 People’s Republic of China
   Telephone: +86 10 8595 5600
11 Facsimile:    +86 10 8595 5700

12 LINDSAY MICHELLE RINDSKOPF (NY STATE BAR
   NO. 5766985)
13 Appearance Pro Hac Vice

14 lrindskopf@orrick.com
   ORRICK, HERRINGTON & SUTCLIFFE LLP
15 51 West 52nd Street
   New York, NY 10019-6142
16 Telephone: +1 212 506 5000

17 Facsimile:    +1 212 506 5151

18 Attorneys for Defendant

19          Pursuant to the Court’s Case Management Order, issued November 8, 2024 (ECF No.
20 46), Plaintiffs Sage Global Services Limited and Sage Software, Inc. (“Plaintiffs”) and

21 Defendant 4th Paradigm (Beijing) Technology Co., Ltd. (“Defendant”), having conferred

22 through their respective counsel of record, hereby respectfully submit this JOINT

23 STIPULATION SETTING CASE MANAGEMENT DEADLINES.

24 I.       Background
25          In this case, Plaintiffs assert claims for trademark infringement and unfair competition
26 under the federal Lanham Act and for unfair competition under California law. On June 13,
27 2024, Defendant filed a motion to dismiss for lack of personal jurisdiction (ECF No. 32,

28

                                                      2
     CASE NO. 5:23-CV-04534-BLF                                     JOINT STIPULATION SETTING CASE
                                                                           MANAGEMENT DEADLINES
             Case 5:23-cv-04534-BLF          Document 53        Filed 11/20/24      Page 3 of 5




 1 hereinafter, the “Motion”). On November 8, 2024, after the Motion was fully briefed, the Court

 2 held a hearing on the Motion. (See ECF No. 42.) At the hearing, the Court granted the Motion

 3 without prejudice, but granted Plaintiffs’ request to conduct discovery focused on personal

 4 jurisdiction and afforded time for Plaintiffs to seek leave to amend the complaint after

 5 conducting limited jurisdictional discovery.

 6          On November 8, 2024, the Court entered a Case Management Order (ECF No. 46), which

 7 set the following deadlines:
       EVENT                                            DATE OR DEADLINE
 8
       Last Day to Request Leave to Amend the           60 Days from Date of this Order (January 7,
 9     Pleadings per F. R. Civ. P. 15                   2025)
       Last Day to Hear Dispositive Motions             April 23, 2026
10     Final Pretrial Conference                        July 9, 2026
11     Trial                                            August 10, 2026

12
            In the Case Management Order, the Court also ordered the parties to “meet, confer, and
13
     submit a stipulation and order setting all deadlines not set by the Court [ ], including discovery
14
     cut-offs and expert disclosure deadlines,” by November 20, 2024.
15          The parties met and conferred by email and November 15, 2024 and have agreed on the
16 deadlines set forth herein. These deadlines include the same deadlines provided for in the Court’s

17 Case Management Order, except that the parties agree upon and propose for Court approval a

18 later deadline to meet and confer to reach agreement on ADR process and a later deadline to

19 request leave to amend pleadings and add parties. The parties agree that, subject to the Court’s

20 approval, these deadlines should occur after the anticipated conclusion of jurisdictional discovery

21 and the filing of an amended complaint with additional jurisdictional allegations.

22 II.      Proposed Schedule

23          The parties jointly propose the following schedule for discovery, dispositive motions, and

24 trial:

25          Fourteen Days After the Filing of An Amended Complaint with Additional

26              Jurisdictional Allegations (if any):: Initial disclosures due.

27

28

                                                       3
     CASE NO. 5:23-CV-04534-BLF                                      JOINT STIPULATION SETTING CASE
                                                                            MANAGEMENT DEADLINES
            Case 5:23-cv-04534-BLF          Document 53        Filed 11/20/24     Page 4 of 5




 1          April 4, 2025: Deadline to meet and confer to reach agreement on ADR process and

 2              either (1) file the form entitled “Stipulation and (Proposed) Order Selecting ADR

 3              Process” if an agreement is reached, or (2) file the form entitled “Notice of Need of

 4              ADR Phone Conference

 5          April 22, 2025: Last day to request leave to amend pleadings (other than jurisdictional

 6              amendments which are the subject of a separate order) and add parties
            November 7, 2025: Close of Fact Discovery
 7
            January 16, 2026: Close of Expert Discovery
 8
            April 23, 2026: Last Day to Hear Dispositive Motions
 9
            July 9, 2026: Final Pretrial Conference
10
            August 10, 2026: Trial
11

12
            Therefore, the parties STIPULATE AND AGREE, subject to approval of this Court, to
13
     the deadlines to complete discovery and dispositive motions, as set forth above and in the
14
     proposed order.
15

16
                                               Respectfully submitted,
17
      Dated: November 20, 2024                 CONRAD METLITZKY KANE LLP
18                                             FROSS ZELNICK LEHRMAN & ZISSU, P.C.
19

20                                             By: /s/ James D. Weinberger
                                                      James D. Weinberger
21
                                               Attorneys for Plaintiffs
22

23    Dated: November 20, 2024                 ORRICK, HERRINGTON & SUTCLIFFE LLP

24
                                               By: /s/ Diana M. Rutowski
25                                                    Diana M. Rutowski
26
                                               Attorneys for Defendant
27

28

                                                      4
     CASE NO. 5:23-CV-04534-BLF                                     JOINT STIPULATION SETTING CASE
                                                                           MANAGEMENT DEADLINES
             Case 5:23-cv-04534-BLF          Document 53       Filed 11/20/24     Page 5 of 5




 1
                                             ATTESTATION
 2
            Pursuant to Civil Local Rule 5-1(i)(3) regarding signatures, James D. Weinberger hereby
 3
     attests that concurrence in the filing of this document has been obtained.
 4

 5 Dated: November 20, 2024                                        /s/ James D. Weinberger
                                                                     James D. Weinberger
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                                       5
     CASE NO. 5:23-CV-04534-BLF                                      JOINT STIPULATION SETTING CASE
                                                                            MANAGEMENT DEADLINES
